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    9
   10                         UNITED STATES DISTRICT COURT
   11                       SOUTHERN DISTRICT OF CALIFORNIA
   12   KATHRYN KAILIKOLE, an                 Case No: 3:18-cv-02877-AJB-MSB
   13   individual,
                                              [Previously San Diego Superior Court
   14                        Plaintiff,       Case No. 37-2018-00058754-CU-WT-NC
                                              before the Honorable Ronald F. Frazier]
   15          v.
                                              DEFENDANT PALOMAR
   16
        PALOMAR COMMUNITY                     COMMUNITY COLLEGE
   17   COLLEGE DISTRICT, a                   DISTRICT’S REPLY BRIEF IN
        governmental entity; and DOES 1       SUPPORT OF ITS MOTION TO
   18   through 25, inclusive,                STRIKE PLAINTIFF’S FIRST
                                              AMENDED COMPLAINT
   19                        Defendants.
   20                                         Date: June 20, 2019
                                              Time: 2:00 p.m.
   21
                                              State Complaint: November 20, 2018
   22                                         Removal Date: December 26, 2018
   23

   24

   25

   26

   27

   28

                    DEF’S REPLY BRIEFIN SUPPORT OF ITS MOTION TO STRIKE PLTF’S FAC
                                                     CASE NO. 3:18-CV-02877-AJB-MSB
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    1   I.     AN ACTION CHALLENGING PLAINTIFF’S TERMINATION IS
    2          BARRED BY CALIFORNIA’S ANTI-SLAPP STATUTE

    3
               The District’s SLAPP motion should be granted because the District has met

    4
        the two-step test required for the granting of a SLAPP motion. The District’s

    5
        actions in terminating Plaintiff were protected activity because they came as a result

    6
        of a unanimous vote by the publicly-elected Governing Board. In addition, despite

    7
        voluntary amendment, Plaintiff has not met her burden of showing that she has will

    8
        prevail under any of her causes of action.

    9
               In an unavailing attempt to save her First Amended Complaint (“FAC”) from

   10
        being stricken, Plaintiff submitted an 84-page declaration, and her counsel

   11
        submitted a 31-page declaration, including exhibits. The District objects to both

   12
        declarations and all exhibits on the grounds that they contain several statements

   13
        which constitute impermissible opinion; hearsay; lack foundation or personal

   14
        knowledge; and are irrelevant. (See Fed. Rule Evid. §§ 401, 602,701, 801-802, and

   15
        901.) Accordingly, the Court should disregard Plaintiff and her counsel’s

   16
        declarations and all exhibits attached thereto.
        II.   PLAINTIFF CONCEDES THAT THE DISTRICT’S SLAPP MOTION
   17         CHALLENGES THE LEGAL SUFFICENCY OF HER CLAIMS
   18          “When an anti-SLAPP motion to strike challenges only the legal sufficiency
   19   of a claim, a district court should apply the Federal Rule of Civil Procedure 12(b)(6)
   20   standard and consider whether a claim is properly stated.” (Planned Parenthood
   21   Federation of America, Inc. v. Center for Medical Progress (9th Cir. 2018) 890
   22   F.3d 828, 834.) Plaintiff admits that the District’s SLAPP motion challenges the
   23   legal sufficiency of her FAC. (Plaintiff’s Opposition (“Oppos.”), 16:11-13.) Legal
   24   insufficiency alone is enough to SLAPP Plaintiff’s FAC. (See Planned
   25   Parenthood, supra, 890 F.3d at 834-835.) Plaintiff cannot state a claim under any
   26   of her causes of action. Thus, the Court should analyze the District’s motion under
   27   Rule 12 (b)(6) standards, without further inquiry into the factual sufficiency of
   28   Plaintiff’s FAC.

                                                  1
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    1   III.   PLAINTIFF ERRONEOUSLY ARGUES THAT THE DISTRICT’S
    2          CONDUCT WAS NOT PROTECTED ACTIVITY
               A.  District action taken in furtherance or anticipation of legally
    3              mandated pre-termination proceedings are protected activity.
    4          It is well settled that in following mandatory pre-termination procedures, a
    5   public entity and its employees engage in protected activity. (See Miller v. City of
    6   Los Angeles (2009) 169 Cal.App.4th 1373; Hansen v. Department of Corrections
    7   & Rehabilitation (2008) 171 Cal.App.4th 1537.) Here, the District’s pre-
    8   termination proceedings, as mandated by the Brown Act, are official proceedings
    9   authorized by law. Thus, any acts carried out in furtherance of, or in anticipation of
   10   official pre-termination proceedings are protected.
   11          Plaintiff admits that her claims may be stricken if protected speech or
   12   petitioning activity itself is the wrong complained of, and not just evidence of
   13   liability or a step leading to some different act for which liability is asserted.
   14   (Oppos., 12:9-12.) In addition, Plaintiff admits that all of the wrongs she suffered
   15   can be summarized as: being placed on paid leave, the non-renewal of her
   16   employment contract, and the termination of her employment. (Oppos., 7:19-21.)
   17   It is the actions themselves, which Plaintiff complains are the wrongful conduct.
   18   Placing Plaintiff on leave is itself being alleged as a wrongful act, not as mere
   19   evidence of a wrongful act. The non-renewal of Plaintiff’s contract in itself is being
   20   alleged as a wrongful act. All the wrongs Plaintiff complains of are protected
   21   activities because these were clearly actions taken in anticipation of official pre-
   22   termination proceedings. As such, Plaintiff’s contention that the disciplinary
   23   actions taken against her do not constitute protected activity is erroneous.
   24          B.      Plaintiff’s reliance on the Nam and Park cases is misplaced
   25          Plaintiff’s urges the Court to blindly follow the results in Nam and Park
   26   simply because both of those decisions involved public agency defendants.
   27   However, the Court should ignore Plaintiff’s request. In Nam, a competency
   28   committee made the decision to dismiss the plaintiff from her residency program.

                                                  2
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    1
        (Nam v. Regents of University of California (2016) 1 Cal.App.5th 1176, 1184.)
    2
        Similarly, in Park, the university’s retention, tenure, and promotion proceedings
    3
        resulted in the plaintiff being denied tenure. (Park v. Board of Trustees of
    4
        California State University (2015) 239 Cal.App.4th 1258; See also Park v. Board
    5
        of Trustees of California State University (2017) 2 Cal.5th 1057) In both cases, the
    6
        adverse employment decisions were made by mere employees of each respective
    7
        public entity.
    8
               In the instant case, the District’s disciplinary actions against Ms. Kailikole
    9
        were the result of unanimous votes of the Governing Board. (Norman Decl., par.
   10
        5-9, Ex. B-E; Kahn Decl., par 5-9, Ex. B-E.) The five-member Governing Board
   11
        consists of elected officials, who serve at the pleasure of the citizens of northern
   12
        San Diego County. (Norman Decl., par. 2; Kahn Decl., par. 2). The Governing
   13
        Board is extensively regulated by California law through the Education Code and
   14
        the Ralph M. Brown Act. California Education Code Section 70902 mandates that
   15
        every California State public community college district be under the control of a
   16
        Governing Board. “In carrying out its powers and duties, the governing board of
   17
        each community college district retains full authority to adopt rules and regulations
   18
        that are necessary and proper to executing [its] prescribed functions.” (Id.) Thus,
   19
        by definition, the Governing Board’s actions in fulfilling its duties are in service of
   20
        the public interest.
   21
               In addition, the Governing Board owes special duties to the public when
   22
        making personnel decisions under the Brown Act. (See SLAPP, 5:14-7:12) The
   23
        Brown Act requires that all the District’s personnel decisions be open to the public
   24
        and subject to public review. (See Gov. Code, § 54950.) The Brown Act makes
   25
        clear that “[t]he people, in delegating authority, do not give their public servants
   26
        the right to decide what is good for the people to know and what is not good for
   27
        them to know… [t]he people insist on remaining informed so that they may retain
   28
        control over the instruments they have created.” (Id.) Accordingly, the completely
                                                3
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    1   disinterested       and   publicly-elected   Governing   Board    had   to   take   the
    2   recommendation of Plaintiff’s termination under a publicly disclosed vote in order
    3   to comply with the Brown Act. Thus, Nam and Park are not controlling here
    4   because neither involved disinterested, publicly-elected officials executing legally-
    5   mandated duties pursuant to California law.
    6          Plaintiff also relies on Park for the erroneous contention that the District’s
    7   personnel decisions cannot be protected solely because they are made in the public
    8   interest. (Park, supra, 2 Cal.5th 1057.) In Park, the court rejected the public interest
    9   argument because the university failed to explain whether its decision to deny a
   10   professor tenure furthered the university’s speech and was a matter of public
   11   interest. (Id at 1072.) Here, the District has clearly articulated the reasons why its
   12   personnel decisions related to Plaintiff were in furtherance of the District’s speech
   13   and were a matter of public concern. (See SLAPP, 10:16-26; 12:15-13:20.)
   14   Plaintiff’s failure to properly administer grant funds threatened the loss of
   15   thousands of tax-payer dollars, the jobs of professors who received their salaries
   16   from grant funding, and the students and members of the community who received
   17   services funded by the grant. (See SLAPP, 2:21 – 3:8.)
   18
              C.     There is no evidence of retaliation or discrimination leading up to
                     the District’s decision to place Plaintiff on leave
   19
               Finally, Plaintiff relies on Whitehall v. City of San Bernardino, 17
   20
        Cal.App.5th 352, 357-358 (2017), to support her contention that the District’s
   21
        conduct was not protected. In Whitehall, the court found that placing plaintiff on
   22
        administrative leave was not protected activity because there was clear evidence of
   23
        whistleblower retaliation before the leave ordered. (Id.) Here, Ms. Kailikole can
   24
        point to no discriminatory or retaliatory act taken against her before she was placed
   25
        on leave pending the outcome of an independent investigation of her own
   26
        misconduct. In fact, Plaintiff’s allegations regarding any adverse personnel
   27
        decisions by the Governing Board are solely post-investigation actions.
   28
        Accordingly, Whitehall is inapplicable.
                                                     4
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    1   IV.    PLAINTIFF FAILS TO STATE A CLAIM UNDER EACH OF HER
    2          CAUSES OF ACTION
               A.  Plaintiff’s cannot prevail on her 1102.5 claim because it is barred
    3              as a matter of law
    4          Failure to exhaust internal administrative remedies is an absolute bar to a
    5   Labor Code §1102.5 cause of action. (Terris v. County of Santa Barbara (2018) 20
    6   Cal.App.5th 551, 558) Plaintiff cites no authority which provides that this
    7   exhaustion requirement may be circumvented. None of the cases Plaintiff relies
    8   upon involve a section 1102.5 claim.1 Accordingly, the Court should strike
    9   Plaintiff’s section 1102.5 cause of action without leave to amend because Plaintiff
   10   cannot truthfully amend to allege exhaustion.
   11          B.      The court’s decision in DeJung is in conflict with the California
   12
                       Supreme Court
               The California Supreme Court specifically held that section 820.2 affords
   13
        immunity to public employees for FEHA claims. (Caldwell v. Montoya (1995) 10
   14
        Cal.4th 972.) This immunity extends to the District pursuant to section 815.2. (See
   15
        Kemmerer v. County of Fresno (1988) 200 Cal.App.3d 1426, 1435.)
   16
               The court arrived at the wrong decision in DeJung v. Superior Court (2008)
   17
        169 Cal.App.4th 533, and the decision is in direct conflict with the California
   18
        Supreme Court. The entire opinion in DeJung is based on dictum from two cases:
   19
        Caldwell, supra, 10 Cal.4th 972 and Farmers Ins. Group v. County of Santa Clara
   20
        (1995) 11 Cal.4th 992. The DeJung court relied heavily on dictum from the
   21
        Caldwell court to reach its holding. (See DeJung, supra, 169 Cal.App.4th at 544.)
   22
        There the Caldwell court simply acknowledged that that there was a distinction
   23
        between the immunity provided for by section 820.2 and the potential for direct
   24
        liability of the employer as an entity. (Caldwell, supra, 10 Cal.4th at 989, fn. 7.)
   25
        However, the California Supreme Court in Caldwell expressly left open the issue
   26

   27   1
          The inapposite FEHA cases Plaintiff relies on are Ortega v. Contra Costa City College Dist.,
   28   (2007) 156 Cal.App.4th 1073; Schifando v. City of Los Angeles, (2003) 31 Cal. 4th 1074; and
        Williams v. Housing Authorit y of Los Angeles, (2004) 121 Cal.App.4th 708.
                                                      5
                    DEF’S REPLY BRIEF IN SUPPORT OF ITS MOTION TO STRIKE PLTF’S FAC
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    1   of whether the governmental immunity statutes extend immunity to governmental
    2   entities. (Id.) In doing so, the high court held that the public entity for which a
    3   public employee works cannot itself be vicariously liable for the employee's actions
    4   to the extent the employee is immune from suit. (Id.) As a matter of principle, the
    5   District cannot be liable to Ms. Kailikole in any other way except by vicarious
    6   liability. The court’s acknowledgment that a public entity could not be liable where
    7   the public employee is immune, is a strong indication that the Supreme Court would
    8   have extended immunity to government entities if the question had been before it.
    9          The DeJung court also relied on dicta from Farmers. The minority dissenting
   10   justices in Farmers believed that the FEHA “provides a basis of direct entity
   11   liability.” (Farmers, supra, 11 Cal.4th at 1014–1015, fn. 12.) The dissenting
   12   justices did not decide the ultimate disposition in Farmers. Accordingly, the
   13   DeJung case should be disregarded because it is entirely based on dictum and
   14   directly contradicts the Supreme Court’s reasoning.
   15
               C.    Plaintiff did not engage in protected activity by merely
                     performing her job duties
   16
               Evidence showing that an employee was merely doing their job is
   17
        insufficient to support a retaliation cause of action. (See Patten v. Grant Joint
   18
        Union High School Dist. (2005) 134 Cal. App.4th 1378, 1384-1385.) In support of
   19
        her argument that the Manager Rule does not apply to her retaliation claims,
   20
        Plaintiff relies upon a number of cases that are not controlling and that California
   21
        courts have not expressed agreement with.2 The only case Plaintiff cites that has
   22
        any precedential value is Crawford v. Metro. Gov’t of Nashville & Davidson Cnty,
   23
        555 U.S. 271 (2009). However, even Crawford is inapplicable to Plaintiff’s claims.
   24
        Not only does the court interpret an entirely different statute in Crawford, but the
   25
        plaintiff in Crawford was not a supervisory employee and it was not a part of her
   26

   27   2
         The case are Demasters v. Carillion Clinic, 796 F.3d 409, 423 (2d Cir. 2015); Johnson v. Univ.
   28   of Cincinnati, 215 F. 3d 561 (6th Cir. 2000); and Robinson v. Wichita State University (D. Kan.,
        Feb. 13, 2018, No. 16-2138-DDC-GLR) 2018 WL 836294, at *3.
                                                       6
                    DEF’S REPLY BRIEF IN SUPPORT OF ITS MOTION TO STRIKE PLTF’S FAC
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    1   job duties to report sexual harassment committed by her superiors. Thus, the
    2   Manger Rule would not have applied to the plaintiff in Crawford.
    3
             D.    The manager rule applies to section 1102.5 claims
               Labor Code section 1102.5 protects employees “regardless of whether
    4
        disclosing information is part of their job duties.” However, this language does not
    5
        eliminate the requirement that a Plaintiff must clearly demonstrate that any such
    6
        disclosure is being done in his or her capacity as an employee making a complaint
    7
        – not a supervisor merely performing their job. No authority exists which suggest
    8
        that section 1102.5 provides such a blanket protection. Plaintiff asserts only that
    9
        she received a report from Dr. Finkenthal relating to Professors Nakajima and
   10
        Gerwig, and she relayed the report to Shawna Cohen in accordance with her job
   11
        duties. (FAC ¶¶ 5-6, 55.) Plaintiff does not allege that she filed a formal complaint
   12
        opposing the violations or actively pursued the violations outside of her role as the
   13
        dean. Consequently, Plaintiff does not allege that she engaged in protected activity
   14
        and she fails to state a claim under her Seventh Cause of Action.
   15
              E.      Plaintiff’s FEHA claims fail because she has not alleged a
   16                 disability under the FEHA
   17          Workplace stress related to an employee’s job performance is not alone a
   18   cognizable disability under the FEHA. (Higgins-Williams v. Sutter Medical
   19   Foundation (2015) 237 Cal.App.4th 78, 84-86.) Plaintiff’s FAC alleges only that
   20   Plaintiff met with her supervisor to discuss anxiety related to performing her job
   21   duties. (See FAC ¶11.) Thus, as a matter of law, Plaintiff’s FAC fails to state a
   22   claim under her fourth, fifth, and sixth causes of action because work-related stress
   23   is not a disability under the FEHA.
   24
        V.     PLAINTIFF FAILS TO ESTABLISH A PRIMA FACIE CASE AND
               PRETEXT
   25          A.     The court need not consider Plaintiff’s argument regarding
   26
                      pretext to decide this motion
               Plaintiff’s arguments relating to pretext are unnecessary. Because it has
   27
        already been demonstrated that Plaintiff fails to state a claim under each of her
   28

                                                 7
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    1   causes of action, her FAC should be stricken in its entirety without further inquiry.
    2   (See Planned Parenthood, supra, 890 F.3d at 834-835.)
    3
              B.    Plaintiff cannot establish that the District’s proffered reasons for
                    her termination were pretext
    4
               Even if the Court does consider Plaintiff’s pretext argument, Plaintiff’s
    5
        argument still fails because Plaintiff cannot prove pretext. To prevail on her
    6
        retaliation claims Plaintiff has the initial burden to show that a causal link exists
    7
        between her protected activity and the District’s action. (Passantino v. Johnson &
    8
        Johnson Consumer Products, Inc. (9th Cir. 2000) 212 F3d 493, 506.) Even cases
    9
        that accept mere temporal proximity as sufficient evidence of causality “uniformly
   10
        hold that the temporary proximity must be ‘very close.’” (Clark County School
   11
        Dist. v. Breeden (2001) 532 U.S. 268, 273, (no causal relationship shown where
   12
        adverse action taken 20 months after claimed protected activity); Cornwell v.
   13
        Electra Central Credit Union (9th Cir. 2006) 439 F.3d 1018, 1036 (8-month gap
   14
        between employee's complaint and demotion too great to support inference that
   15
        employee's complaints caused termination.)
   16
               Moreover, under California law, proximity in time satisfies only the
   17
        plaintiff's initial burden. If the employer offers a legitimate, nonretaliatory reason
   18
        for its adverse action, “temporal proximity … does not, without more” establish
   19
        that reason is pretextual. (McRae v. Department of Corrections & Rehabilitation
   20
        (2006) 142 Cal.App.4th 377, 388.)
   21
               Plaintiff has not offered sufficient evidence of temporal proximity. Plaintiff
   22
        reported Professors Nakajima and Gerwig in May 2017 and she was not placed
   23
        under investigation and on administrative leave until December 14, 2017. (FAC ¶¶
   24
        6, 13.) Plaintiff does not allege any retaliatory conduct during the 7-month period
   25
        between her report and the date she was placed under investigation.
   26
               Plaintiff’s assertion that the District did not bring up her performance issues
   27
        until after this lawsuit was filed is not supported by the evidence. In September
   28
        2017, Plaintiff received a verbal warning from Dr. Kahn for failing to meet
                                                  8
                    DEF’S REPLY BRIEF IN SUPPORT OF ITS MOTION TO STRIKE PLTF’S FAC
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    1   deadlines. (Norman Decl., par. 4, Ex. A, p. 3.) In November 2017, Plaintiff and Dr.
    2   Kahn meet to discuss her failure to meet deadlines and unsatisfactory job
    3   performance. (Id.; FAC ¶ 10.) Finally, Plaintiff received the Notice of Proposed
    4   Disciplinary Action on May 2, 2018, which laid out all of the reasons that Dr. Kahn
    5   was proposing her termination, including issues with her job performance.
    6   (Norman Decl., par. 4, Ex. A.) Thus, Plaintiff received ample notice that there were
    7   issues with her job performance before she filed this lawsuit.
    8          Moreover, the fact that emails about her performance were forwarded to the
    9   District compliance officer after Plaintiff complained about retaliation is not
   10   indicative of pretext. These emails were actually forwarded after Plaintiff informed
   11   the District that she had hired an attorney, in January 2018. (FAC ¶ 16; Norman
   12   Decl., par. 4, Ex. A, pp. 181-247 [Ex. 3, Emails]). Thus, the District was simply
   13   doing its due diligence by getting its compliance officer involved.
   14          Finally, the District’s investigation into Plaintiff is not evidence of pretext.
   15   The District had a thorough, fair, and independent investigation conducted. In her
   16   FAC, Plaintiff praises Mr. Love’s investigations and even relies on them for the
   17   contention that Mr. Love found Ms. Kailikole to be credible. (FAC ¶ 9.) However,
   18   now that the investigation results are not in her favor, Ms. Kailikole no longer
   19   appreciates the value of Mr. Love’s investigations. Plaintiff is simply attempting to
   20   craft allegations for the first time on Opposition to save her FAC from be stricken.
   21   Accordingly, Plaintiff’s bare allegations of temporal proximity are insufficient to
   22   establish pretext because the District had legitimate reasons for its conduct.
   23
        VI. PLAINTIFF SHOULD NOT BE PERMITTED LEAVE                                        TO
               CONDUCT DISCOVERY
   24
               On step two of the SLAPP analysis, Plaintiff must demonstrate a probability
   25
        of prevailing on her claims. (Braun v. Chronicle Publishing Co., (1997) 52
   26
        Cal.App.4th 1036, 1042-43.) In order to show a probability of prevailing on her
   27
        claims, all Plaintiff must do is state a plausible claim under each of her causes of
   28
        action. (Planned Parenthood, supra, 890 F.3d at 834-835.) Indeed, the ability to
                                                  9
                    DEF’S REPLY BRIEF IN SUPPORT OF ITS MOTION TO STRIKE PLTF’S FAC
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    1   state legally sufficient claims is required of a plaintiff at the outset of any lawsuit,
    2   whether or not a defendant brings a SLAPP motion. (See e.g. Ashcroft v. Iqbal
    3   (2009) 556 U.S. 662, 678.) Moreover, “[i]n defending against a SLAPP motion, if
    4   the defendant has urged only insufficiency of pleadings, then the plaintiff can
    5   properly respond by showing sufficiency of pleadings, and there is no requirement
    6   for a plaintiff to submit evidence...” (Planned Parenthood, supra, 890 F.3d at 834.)
    7   Thus, Plaintiff’s request for leave to conduct discovery should be denied.
    8
        VII. PLAINTIFF’S REQUEST FOR ATTORNEY’S FEES AND COSTS
              SHOULD BE DENIED
    9
               If the Court overrules the District’s motion, it should not award costs and
   10
        attorney’s fees to Plaintiff. The motion is clearly not frivolous or solely intended to
   11
        cause unnecessary delay. “A determination of frivolousness requires a finding the
   12
        motion is ‘totally and completely without merit,’ (§128.5, subd. (b)(2)), that is, ‘any
   13
        reasonable attorney would agree such motion is totally devoid of merit.’
   14
        [Citation.]” (Foundation for Taxpayer and Consumer Rights v. Garamendi (2005)
   15
        132 Cal.App.4th 1375, 1387-88.) Several courts of appeal have held that a public
   16
        employer’s investigative and disciplinary procedures are an “official proceeding
   17
        authorized by law.” Moreover, the California Supreme Court held that there can be
   18
        no liability for a public entity itself, where the public entity’s employee would be
   19
        immune from liability.
   20
        VIII. CONCLUSION
   21
               Based on the foregoing, the Court should grant Defendant’s SLAPP Motion
   22
        and enter an order striking Plaintiff’s FAC in its entirety.
   23
         Dated: April 24, 2019                       Respectfully submitted,
   24                                                FISHER & PHILLIPS LLP
   25                                          By: /s/ Kevonna J. Ahmad
   26                                              Regina A. Petty
                                                   Adam F. Sloustcher
   27                                              Kevonna J. Ahmad
                                                   Attorneys for Defendant
   28                                              Palomar Community College District
                                                  10
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    1                            CERTIFICATE OF SERVICE
    2         I, the undersigned, am employed in the County of San Diego, State of
        California. I am over the age of 18 and not a party to the within action; am
    3   employed with the law offices of Fisher & Phillips LLP and my business address
        is 4747 Executive Drive, Suite 1000, San Diego, California, 92121.
    4
              On April 24, 2019 I served the foregoing document entitled DEFENDANT
    5   PALOMAR COMMUNITY COLLEGE DISTRICT’S REPLY BRIEF IN
        SUPPORT OF ITS MOTION TO STRIKE PLAINTIFF’S FIRST
    6
        AMENDED COMPLAINT on all the appearing and/or interested parties in this
    7   action by placing      the original     a true copy thereof enclosed in sealed
        envelope(s) addressed as follows:
    8

    9    Evan Dwin (SBN 241027)                      Telephone: (760) 536-6471
         DWIN LEGAL, APC                             Facsimile: (760) 585-4649
   10    2121 Palomar Airport Road, Suite 170        E-Mail: Edwin@DwinLegal.com
         Carlsbad, CA 92011                          Attorneys for Plaintiff
   11                                                Kathryn Kailikole
   12    [by MAIL] – I am readily familiar with the firm’s practice of collection and
          processing correspondence for mailing. Under that practice it would be
   13     deposited with the U.S. Postal Service on that same day with postage thereon
          fully prepaid at San Diego, California in the ordinary course of business. I am
   14     aware that on motion of the party served, service is presumed invalid if postage
          cancellation date or postage meter date is more than one day after date of deposit
   15     for mailing this affidavit.
         [by ELECTRONIC SUBMISSION] – I served the above listed document(s)
   16     described via the United States District Court’s Electronic Filing Program on the
          designated recipients via electronic transmission through the CM/ECF system
   17     on the Court’s website. The Court’s CM/ECF system will generate a Notice of
          Electronic Filing (NEF) to the filing party, the assigned judge, and any registered
   18     users in the case. The NEF will constitute service of the document(s).
          Registration as a CM/ECF user constitutes consent to electronic service through
   19     the court’s transmission facilities.
         [by OVERNIGHT SERVICE] – I am readily familiar with the firm’s practice
   20     for collection and processing of correspondence for overnight delivery. Under
          that practice such correspondence will be deposited at a facility or pick-up box
   21     regularly maintained by the overnight service for receipt on the same day in the
          ordinary course of business with delivery fees paid or provided for in accordance
   22     with ordinary business practices.
   23
           I declare that I am employed in the office of a member of the bar of this Court
   24   at whose direction the service was made.
   25          Executed April 24, 2019 at San Diego, California.
   26             Michael Lynn Filio           By:
   27

   28

                                                 1
                                       CERTIFICATE OF SERVICE
        FPDOCS 35289652.1
